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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

                                     :
DUVALL HUCKS
                                     :

      v.                             :   Civil Action No. DKC-16-2379
                                         Criminal No. DKC-95-267-7
                                     :
UNITED STATES OF AMERICA
                                     :

                           MEMORANDUM OPINION

      Petitioner Duvall Hucks (“Petitioner”) filed a paper titled

“permission to file a motion under Title 28 U.S.C. § 2255(3) to

correct an illegal sentence” which has been construed as a motion

to vacate pursuant to 28 U.S.C. § 2255.1             (ECF No. 673).     In

response, the Government filed a motion to dismiss. (ECF No. 677).

Petitioner filed a motion to stay until the Supreme Court of the

United States decided Beckles v. United States.            (ECF No. 680).

In both of Petitioner’s motions, he asserts that he is entitled to

relief under the Supreme Court’s ruling in Johnson v. United



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     A court may re-characterize a motion filed by a self-
represented litigant to create better correspondence between the
subject of the motion and its underlying legal basis. See Castro
v. United States, 540 U.S. 375, 381 (2003). Petitioner may not
evade the procedural requirements for successive § 2255 motions by
attaching other titles to his motion. Calderon v. Thompson, 523
U.S. 538, 553 (1998) (Regardless of the title assigned by the
litigant, the subject matter of the motion determines its status).
Notice of re-characterization was not required because this was
not Petitioner’s first § 2255 motion challenging this judgment,
and there is no notice requirement for successive petitions. See
Castro, 540 U.S. at 383.
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States, 135 S.Ct. 2551 (2015), striking down the residual clause

in the Armed Career Criminal Act (ACCA).           (ECF Nos. 683, 680).

     The Government explains that the holding in Johnson has no

impact     on   Petitioner’s   sentence.      In   support   of   this,   the

Government states that Petitioner was not sentenced as an Armed

Career Criminal, a Career Offender, or under any other statute

affected by the Johnson decision.          (ECF No. 677).    Petitioner was

convicted of conspiracy to possess with intent to distribute and

possession with intent to distribute cocaine in violation of 21

U.S.C. §§ 841 and 846, and drug trafficking crimes are not affected

by the ruling in Johnson.           In accordance with the presentence

report, the court calculated Petitioner’s total offense level to

be 46 and his criminal history category to be III.            The resulting

advisory guideline range was life imprisonment.               On October 7,

1996, the court sentenced Petitioner to life imprisonment.

     Further, the Government argues that Petitioner’s motion to

vacate is successive and that Petitioner did not first seek

authorization from the United States Court of Appeals for the

Fourth Circuit to file it.           There can be no dispute that the

instant motion to vacate is not the first such motion filed by

Petitioner.      On October 2, 2000, Petitioner filed his first motion

to vacate (ECF No. 498), which the court denied on August 28, 2001.

(ECF Nos. 541, 542).       On July 10, 2014, the Fourth Circuit denied

Petitioner’s motion for an order authorizing the district court to


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consider a second or successive application for relief under 28

U.S.C. § 2255.     (ECF No. 619).

      It is clear that Petitioner has not received authorization

from the Fourth Circuit to file the instant motion.                Pursuant to

28 U.S.C. § 2255,

           A second or successive motion must be
           certified as provided in section 2244 by a
           panel of the appropriate court of appeals to
           contain- (1) newly discovered evidence that,
           if proven and viewed in light of the evidence
           as a whole, would be sufficient to establish
           by clear and convincing evidence that no
           reasonable factfinder would have found the
           movant guilty of the offense; or (2) a new
           rule of constitutional law, made retroactive
           to cases on collateral review by the Supreme
           Court, that was previously unavailable.

      This court is mindful “that a numerically second § 2255 motion

should not be considered second or successive pursuant to §2255(h)

where . . . the facts relied on by the movant seeking resentencing

did not exist when the numerically first motion was filed and

adjudicated.”     United States v. Hairston, 745 F.3d 258, 262 (4th

Cir. 2015).     Petitioner, however, has pointed to no new “facts” in

his   pending    motion,   nor   does       Johnson   apply   to   this   case.

Furthermore, the Supreme Court’s later decision in Beckles v.

United States, 137 S.Ct. 886 (2017), held that the advisory

sentencing guidelines are not subject to the Johnson analysis in

any event.      Petitioner’s only claim is that, under Johnson, the

residual clause in the sentencing guidelines is void for vagueness.




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Accordingly, the pending motion to vacate is dismissed without

prejudice as successive.

     The Fourth Circuit has set forth instructions for the filing

of a motion to obtain the aforementioned authorization order.            The

procedural requirements and deadlines for filing the motion are

extensive.    Consequently, this court has attached hereto a packet

of instructions promulgated by the Fourth Circuit which address

the comprehensive procedure to be followed should Petitioner wish

to seek authorization to file a successive petition with the Fourth

Circuit.     It is to be emphasized that Petitioner must file the

motion with the Fourth Circuit and obtain authorization to file a

successive petition before this court may examine the claims.

     In    addition   to   the   above   analysis,   a   certificate      of

appealability (“COA”) must be considered.       Unless a COA is issued,

a petitioner may not appeal the court’s decision in a § 2255

proceeding.    28 U.S.C. § 2253(c)(1); Fed.R.App.P. 22(b).             A COA

may issue only if the petitioner “has made a substantial showing

of the denial of a constitutional right.”       28 U.S.C. § 2253(c)(2).

The petitioner “must demonstrate that reasonable jurists would

find the district court’s assessment of the constitutional claims

debatable or wrong,” Tennard v. Dretke, 542 U.S. 274, 282 (2004)

(citation and internal quotation marks omitted), or that “the

issues presented are adequate to deserve encouragement to proceed

further,” Miller-El v. Cockrell, 537 U.S. 322, 327 (2003).               The


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denial of a COA does not preclude a petitioner from seeking

permission to file a successive petition or from pursuing his

claims upon receiving such permission.       Because Petitioner has not

made a substantial showing of the denial of his constitutional

rights, this court will not issue a COA.

     A separate Order will be entered.



                                            /s/
                                  DEBORAH K. CHASANOW
                                  United States District Judge




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